Case 2:03-cr-20466-SH|\/| Document 124 Filed 06/13/05 Page 1 of 2 Page|D 137

Fu.ED mv §QJ..“. D-C-
IN THE uNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DIsTRIcT oF TENNESSEE m 1,`.§%`_§ m PH 5, 36
wEsTERN DIvIsION - »v-»
§§ ._=1:‘~':"‘* .' §§ THGLI{]
`-`§E"""I§‘ ¥f"<: r\s:;'r. c'r.

:i,i;"f 'n-\a, :-\.n&s¢.";i»:"u$

   

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03-20466*Ma

VS.

RUDY E. BELTRAN,

-_--._¢~._¢\_/V-._/~_.,-._,-._r

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., With a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period fronl May 3l, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § 316l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this IBH` day of June, 2005.

_e/WW/wril_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

'!z:;=; ‘_.c=:',‘:ner`=t a;"?ersu' cr fha ’_i-:;c:‘<ai -.ho€tl ¢r:n'.'*iir~:nce

,.
'.»,.th Flu|e o:.`- ami/or 32(b) FH';.'JrF on h

    

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 124 in
case 2:03-CR-20466 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

i\/lemphis7 TN 38111

Honorable Samuel Mays
US DISTRICT COURT

